Case 3:08-cr-00152-N Document 267 Filed 11/13/08 Page 1 of 1 Page|D 586

 

United States District Court
Northern District of Texas

Dallas Divl`sl`on
UNITED STATES OF AMERICA
SEALED WARRANT FOR ARREST
V.
LAKENDRA IRENE AVERY
aka "Kendra"
CASE NU]V[BER: 3108-CR-152-N (12)
To: The United States Marshal MAG' CASE NUMBER:
and any Authorized United States Offlcer
YOU ARE HEREBY COMMANDED to arrest LAKENDRA IRENE AVERY

 

and bring him or her forthwith to the nearest magistrate judge to answer a(n)

{>`<' Sealed Indictment [:'_ Information

 

charging him or her with:

CONSPIRACY TO POSSESS WITH INTENT TO DISTRIBUTE A SCHEDULE I AND SCHEDULE II CONTROLLED
SUBSTANCE; and POSSESSION WITH THE INTENT TO DISTRIBUTE A SCHEDULE II CONTROLLED SUBSTANCE

 

' U.S. DIS'YZNCT C()URI`

 

in violation ofTitle 21 NORTHERN DiSTRiC'I` ()F TEXAS
F l LED
United States Code, Section(s) 333
as

Nov 1 3 2003 ~.

846; and 841(a)(l) and (b)(l)(C)

 

 

 

 

 

 

 

 

 

 

 

By
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Karen Mitchell, U.S. District Court Clerk %»v- `7777£!'~4#¢/ CO
Name and ride orlssuing ofacer Signat€re Of lssuing Offifer
United States Magistrate Judge Paul D Stickney May 21, 2008 DallaS, TX

Date Location
J Gardner
(By) Deputy Clerk
RETURN

 

This warran was received and executed with the arrest of the above-named defendant at

 

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DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

 

 

 

 

 

 

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